
ORDER
Before: CANBY and REINHARDT, Circuit Judges, and TASHIMA, District Judge.*
The government’s petition for rehearing is GRANTED. The parties are directed to file new briefs addressing the deferred compensation issue only. The briefs shall set forth the parties’ arguments .on this question in full and shall not merely provide supplemental or additional analysis or authorities. The briefs shall not exceed 25 pages in length and shall be filed simultaneously on or before May 25, 1994. Copies shall be delivered to Judges Canby, Reinhardt, and Tashima at their respective chambers. The case will be rear-gued on Wednesday, June 15, 1994, at 10:00 a.m. in San Francisco, California.
